                                      NO. 12-24-00045-CV

                             IN THE COURT OF APPEALS

                TWELFTH COURT OF APPEALS DISTRICT

                                          TYLER, TEXAS

 IN THE INTEREST OF B.J.D.,                             §        APPEAL FROM THE 173RD
 A CHILD,
                                                        §        JUDCIAL DISTRICT COURT

                                                        §        HENDERSON COUNTY, TEXAS

                                      MEMORANDUM OPINION

        R.D. appeals the termination of his parental rights to the child B.J.D. In his sole issue,
R.D. challenges the sufficiency of the evidence to support the termination. We affirm.


                                               BACKGROUND
        R.D. is the father and L.M. is the mother of B.J.D. On September 9, 2022, the Department
of Family and Protective Services (the Department) filed an original petition for protection of
B.J.D., for conservatorship, and for termination of R.D.’s parental rights. 1 The Department was
named temporary managing conservator of the child.
        Following a bench trial, the trial court found by clear and convincing evidence that R.D.
engaged in one or more of the acts or omissions necessary to support termination of his parental
rights under subsections (O) and (P) of Texas Family Code, Section 161.001(b)(1). The trial court
also found that termination of the parent-child relationship between the child and R.D. is in the



        1
          The Department originally sought to terminate both R.D.’s and L.M.’s parental rights. However, because
the Department later concluded that L.M. satisfactorily completed her Family Plan of Service (FPOS), achieved a
drug-free lifestyle, maintained safe and stable housing, and demonstrated she could meet the child’s needs, it
discontinued efforts to terminate her parental rights to B.J.D.
child’s best interest. 2 Based on these findings, the trial court ordered that the parent-child
relationship between R.D. and B.J.D. be terminated. L.M. reunited with the child and regained
custody through a monitored return. The trial court named L.M. as B.J.D.’s sole managing
conservator, and this appeal followed.


                                   TERMINATION OF PARENTAL RIGHTS
        Involuntary termination of parental rights involves fundamental constitutional rights. Vela
v. Marywood, 17 S.W.3d 750, 759 (Tex. App.—Austin 2000), pet. denied per curiam, 53 S.W.3d
684 (Tex. 2001); In re J.J., 911 S.W.2d 437, 439 (Tex. App.—Texarkana 1995, writ denied).
Because a termination action permanently sunders the bonds between parent and child, the
proceedings must be strictly scrutinized. Wiley v. Spratlan, 543 S.W.2d 349, 352 (Tex. 1976); In
re Shaw, 966 S.W.2d 174, 179 (Tex. App.—El Paso 1998, no pet.). “[W]e must exercise the utmost
care in reviewing the termination of parental rights to be certain that the child’s interests are best
served and that the parent’s rights are acknowledged and protected.” Vela, 17 S.W.3d at 759.
        Section 161.001(b) of the Texas Family Code permits a court to order termination of
parental rights if two elements are established. See TEX. FAM. CODE ANN. § 161.001(b) (West
Supp. 2023). The movant must show that (1) the parent committed one or more predicate acts or
omissions and (2) termination is in the child’s best interest. See id. § 161.001(b)(1), (2). Both
elements must be established by clear and convincing evidence, and proof of one element does not
alleviate the petitioner’s burden of proving the other. Id. § 161.001(b); Wiley, 543 S.W.2d at 352;
In re J.F.C., 96 S.W.3d at 256, 263–64 (Tex. 2002).
        The “clear and convincing” evidentiary standard for termination of parental rights is both
constitutionally and statutorily mandated. TEX. FAM. CODE ANN. § 161.001; In re J.J., 911 S.W.2d
at 439. “Clear and convincing evidence” is defined as “the measure or degree of proof that will
produce in the mind of the trier of fact a firm belief or conviction as to the truth of the allegations
sought to be established.” TEX. FAM. CODE ANN. § 101.007 (West 2019). The party seeking
termination of parental rights bears the burden of proof. In re J.F.C., 96 S.W.3d at 263-64.




        2
           At trial, R.D. did not request that he be named sole managing conservator. Instead he only argued that his
parental rights not be terminated and that he be permitted to maintain visitation rights in some capacity.




                                                         2
                                      STANDARD OF REVIEW
       When presented with a challenge to both the legal and factual sufficiency of the evidence,
an appellate court must first review the legal sufficiency of the evidence. Glover v. Tex. Gen.
Indem. Co., 619 S.W.2d 400, 401 (Tex. 1981); In re M.D.S., 1 S.W.3d 190, 197 (Tex. App.—
Amarillo 1999, no pet.). When reviewing the legal sufficiency of the evidence, we review all the
evidence in the light most favorable to the finding to determine whether “a reasonable trier of fact
could have formed a firm belief or conviction that its finding was true.” In re J.F.C., 96 S.W.3d
at 266. We assume that the factfinder resolved disputed facts in favor of its finding if a reasonable
factfinder could, and we disregard all evidence that a reasonable factfinder could have disbelieved
or found incredible. Id. If no reasonable factfinder could form a firm belief or conviction that the
matter that must be proven is true, the evidence is legally insufficient. Id. The trier of fact is the
exclusive judge of the credibility of the witnesses and the weight to be given their testimony.
Nordstrom v. Nordstrom, 965 S.W.2d 575, 580 (Tex. App.—Houston [1st Dist.] 1997, pet.
denied).
       When reviewing the factual sufficiency of the evidence, we must determine whether the
evidence is such that a factfinder reasonably could form a firm belief or conviction about the truth
of the Department’s allegations. In re C.H., 89 S.W. 3d 17, 25 (Tex. 2002). We give due
consideration to evidence that the factfinder reasonably could have found to be clear and
convincing, and we consider whether disputed evidence is such that a reasonable factfinder could
not have resolved that disputed evidence in favor of its ruling. In re J.F.C., 96 S.W.3d at 266. If,
considering the entire record, the disputed evidence that a reasonable factfinder could not have
credited in favor of the finding is so significant that a factfinder could not reasonably have formed
a firm belief or conviction, the evidence is factually insufficient. Id.


                                  BEST INTEREST OF THE CHILD
       In his sole issue, R.D. argues that the evidence is legally and factually insufficient to
support the termination of his parental rights to B.J.D. because there was insufficient evidence that
the termination was in the best interest of B.J.D.
Applicable Law
       Trial courts have wide latitude in determining a child’s best interest. Interest of I.N.B.,
662 S.W.3d 631, 647 (Tex. App.—Beaumont 2023, no pet.). In determining the best interest of



                                                  3
the child, courts consider a non-exhaustive list of factors, including: (1) the desires of the child;
(2) the child’s emotional and physical needs now and in the future; (3) the emotional and physical
danger to the child now and in the future; (4) the parental abilities of the individuals seeking
custody; (5) programs available to assist these individuals to promote the child’s best interest;
(6) plans for the child by these individuals or the agency seeking custody; (7) stability of the home
or proposed placement; (8) acts or omissions of the parent which may indicate that the existing
parent-child relationship is not proper; and (9) any excuse for the parent’s acts or omissions.
Holley v. Adams, 544 S.W.2d 367, 371–72 (Tex. 1976).
       The Texas Family Code also provides a list of factors that we will consider in conjunction
with the Holley factors. TEX. FAM. CODE ANN. § 263.307(b) (West 2019). These statutory factors
include (1) the child’s age and physical and mental vulnerabilities; (2) the frequency and nature of
out-of-home placements; (3) the magnitude, frequency, and circumstances of the harm to the child;
(4) whether the child has been the victim of repeated harm after the initial report and intervention
by the Department; (5) whether the child is fearful of living in or returning to the child’s home;
(6) the results of psychiatric, psychological, or developmental evaluations of the child, the child’s
parents, other family members, or others who have access to the child’s home; (7) whether there
is a history of abusive or assaultive conduct by the child’s family or others who have access to the
child’s home; (8) whether there is a history of substance abuse by the child’s family or others who
have access to the child’s home; (9) whether the perpetrator of the harm to the child is identified;
(10) the willingness and ability of the child’s family to seek out, accept, and complete counseling
services and to cooperate with and facilitate an appropriate agency’s close supervision; (11) the
willingness and ability of the child’s family to effect positive environmental and personal changes
within a reasonable period of time; (12) whether the child’s family demonstrates adequate
parenting skills; and (13) whether an adequate social support system consisting of an extended
family and friends is available to the child. Id.
       No particular Holley factor is controlling, and evidence of one factor may be sufficient to
support a finding that termination is in the child’s best interest. In re A.P., 184 S.W.3d 410, 414
(Tex. App.—Dallas 2006, no pet.). The evidence need not prove all the statutory or Holley factors
to show that termination of parental rights is in a child’s best interest. See Holley, 544 S.W.2d at
372; In re J.I.T.P., 99 S.W.3d 841, 848 (Tex. App.—Houston [14th Dist.] 2003, no pet.). The best
interest of the child does not require proof of any unique set of factors nor is proof limited to any



                                                    4
specific factors. See In re D.M., 58 S.W.3d at 814. Evidence supporting the statutory predicate
grounds for termination of parental rights also is probative in determining whether termination is
in the child’s best interest. See In re C.H., 89 S.W.3d at 28-29. In conducting a best-interest
analysis, “a court may consider not only direct evidence but also may consider circumstantial
evidence, subjective factors, and the totality of the evidence.” In re J.M.T., 519 S.W.3d 258, 269
(Tex. App.—Houston [1st Dist.] 2017, pet. denied). We will apply the relevant statutory and
Holley factors below.
Discussion
        R.D. acknowledges that he engaged in the predicate acts or omissions set forth in Texas
Family Code, Section 161.001(b)(1) and does not challenge that initial finding. Instead, he
challenges only the second part of the test: whether termination is in the best interests of the child.
See TEX. FAMILY. CODE ANN. § 161.001(b)(2). At the outset, we note that evidence proving one
or more statutory grounds for termination also can be probative evidence that termination is in the
best interest of the child. In re C.H., 89 S.W.3d at 28.
        R.D. argues that the evidence at trial regarding the best interest of the child was scant and
did not satisfy the clear-and-convincing evidentiary standard, especially since L.M.’s rights were
not terminated. According to R.D., the termination of his rights did not provide for more stability
or safety than already existed through naming L.M. as the sole managing conservator. He further
argues that the trial court should have “crafted a safe and appropriate path forward that did not
require termination.”
        The evidence at trial showed that the Department received an intake on August 15, 2022,
which alleged that R.D. committed domestic violence against L.M. 3 Specifically, Monica Cole, a
Department investigative supervisor, testified the Department received reports concerning
domestic violence, which resulted in R.D.’s allegedly breaking two vertebrae in L.M.’s back. L.M.
reported that R.D. pushed her down the stairs while she held B.J.D. as she attempted to leave the
home during an argument and that she broke her back during the fall. She stated that R.D. pulled
her hair and kicked her repeatedly and she tried to leave because she feared he would harm her or

         3
           Department Investigative Supervisor Monica Cole testified the family had an extensive Department history
including a 2021 case in which B.J.D. was in R.D.’s care. R.D. testified L.M. was required to leave the home for
several months as part of a Family-Based Safety Services (FBSS) case and permitted to return after services were
offered. R.D. explained the case resulted from L.M.’s not properly feeding B.J.D., which required her to be admitted
into a hospital.




                                                         5
B.J.D. At trial, R.D. maintained that he never struck L.M. and that, instead, she slipped and fell
during the argument. R.D. testified L.M. told the hospital and the police that she had fallen and
that L.M. told investigating officers she did not want R.D. to get into trouble. He indicated he
never was criminally charged for anything related to this incident.
       B.J.D.’s physical and mental vulnerabilities
       When a child is too young at the time of the final hearing to express her desires, the trial
court may infer the child’s desires from the evidence presented at the hearing. See In Interest of
K.M., No. 07-16-00120-CV, 2016 WL 3660076, at *4 (Tex. App.—Amarillo June 29, 2016, pet.
denied) (mem. op.) (citing In re S.R., 452 S.W.3d 351, 369 (Tex. App.—Houston [14th Dist.]
2014, pet. denied)).         Furthermore, “[j]ust as it is imperative for courts to recognize the
constitutional underpinnings of the parent-child relationship, it is also essential that emotional and
physical interests of the child not be sacrificed merely to preserve that right.” In re C.H., 89
S.W.3d 17, 26 (Tex. 2002).
       B.J.D. was four years old at the time of trial and is a special-needs child who requires
home-health-care nursing and a feeding tube. 4 R.D. confirmed B.J.D. has medical issues, which
require a “G-button” for feeding, and stated he learned how to feed her at a Dallas hospital. He
explained she has a bad mitral valve in her heart, which causes her to reject food, she had two
surgeries to rectify the issue, and she requires a third surgery. R.D. testified B.J.D. also had
seizures and breathing issues while in CPS’s care but explained those conditions resolved after she
was returned to L.M. Nancy Murillo, a Department caseworker, opined that R.D. did not have a
full understanding of B.J.D.’s medical needs because he was against most of the medical
recommendations.
       R.D.’s Criminal History, Abusive Conduct, and Substance Abuse
       A fact finder may infer that past conduct endangering the well-being of a child may recur
in the future if the child is returned to the parent. In re J.D., 436 S.W.3d 105, 118 (Tex. App.—
Houston [14th Dist.] 2014, no pet.). With regard to R.D.’s prior, criminal history and allegations
of abuse, he testified he had two previous CPS reports from prior relationships––one for an alleged
burn mark on a stepdaughter and another, which alleged sexual abuse of that same stepdaughter.
He testified that her mother, V.W., “accused me of getting a dildo and cramming it in a nine-year-


       4
           R.D. testified he has seven children with seven different women.




                                                         6
old girl and leaving the room so she could finish up.” He further testified that he was charged and
convicted for indecency with a child by exposure and spent four-and-one-half years in prison. He
also explained that he had a second conviction for inappropriately bathing with his one-year-old
son but claimed that this conviction later was reversed on appeal. R.D. confirmed he was convicted
as a sex offender and had a pending, felony charge for failure to register in Henderson County,
Texas. A parent’s current and future incarceration is relevant to his ability to meet the children’s
present and future physical and emotional needs. See In re M.D.S., 1 S.W.3d 190, 200 (Tex.
App.—Amarillo 1999, no pet.). R.D. indicated he had other matters in his criminal history like
theft by check and “stuff like that.”
        Murillo testified L.M. discussed in detail the extent of the domestic violence she suffered
with R.D. and feared his coming back into her life. Murillo confirmed that L.M. reported concerns
about R.D.’s sexual behavior, which in conjunction with R.D.’s status as a sex offender, caused
concern for B.J.D.’s being in his care because she was too young to protect herself. L.M. testified
that she and B.J.D. stayed with her mother following the August 2022 domestic-violence incident
and R.D. kept coming to the home. She alleged that, at one point, he exposed his penis in front of
B.J.D. while they sat on the couch.
        Abusive or violent conduct can produce an environment that endangers a child’s physical
or emotional well-being. See In re J.I.T.P., 99 S.W.3d 841, 845-46 (Tex. App.—Houston [14th
Dist.] 2003, no pet.) (stating domestic violence supports finding that termination is in child’s best
interest even when child is not victim of violence). L.M. stated that R.D. was physically abusive
to her on one occasion before B.J.D. was born, wherein he kicked her in the stomach during an
argument. She further stated that he was verbally abusive toward her, such as calling her a “stupid
bitch.” After B.J.D. was born, she claimed that he frequently accused her of cheating and the
physical abuse increased, namely that he pulled her hair, choked her, and threw her on the ground.
L.M. testified that R.D. once pulled a clump of her hair out in front of B.J.D. when the child was
two-years-old, and L.M. sustained other injuries like bruises on her back, arms, and legs, black
eyes, and scrapes on her face. 5 L.M. further testified that R.D. would not let her work during their



        5
           After B.J.D.’s removal, the trial court issued an injunction that prohibited R.D. from being within 1,000
feet of L.M. and her family members. R.D. claimed he followed the injunction. R.D. also denied that he ever
physically abused L.M. or any other woman.




                                                         7
relationship, except briefly as a housekeeper and she did not have a vehicle or access to money
other than when he gave her his debit card to get groceries or drugs.
        At the time of B.J.D.’s removal, both parents tested positive for illegal drugs. L.M. tested
positive for methamphetamine, opiates, codeine, and morphine, while R.D. tested positive for
methamphetamine. A trial court is entitled to consider a parent’s history of drug use and
irresponsible choices. See In re J.O.A., 283 S.W.3d 336, 345 (Tex. 2009). During his drug
counseling, R.D. reported that he used methamphetamine for ten years from ages thirty-five to
forty-five, and began using the drug again during his relationship with L.M. to “keep it going” in
hopes of rekindling their relationship. L.M. testified that R.D. started using methamphetamine
around the time she discovered she was pregnant with B.J.D when they were separated briefly and
he was depressed. She explained that they both stopped using methamphetamine during her
pregnancy but began using again when B.J.D. was about two-months-old and continued until the
child’s removal in this case. L.M. testified that R.D. used methamphetamine in front of B.J.D.,
and, at times, left the drug accessible to her. 6
        Robin Rickard, a Department investigator, testified that R.D. tested positive for
methamphetamine several times throughout the progression of the case, including during a new
investigation a month before trial. R.D. testified he last consumed the drug on Christmas 2023,
two months before trial, but he did so unknowingly because an acquaintance slipped the drug into
his drink.
        R.D.’s Psychological Testing and Counseling
        R.D. completed a psychological evaluation in October 2022, and was diagnosed with
neglect of a child, adjustment disorder with mixed anxiety and depressed mood, unspecified
stimulant-related disorder, unspecified personality disorder with narcissistic features, and
relationship distress.
        Curtis Pickle, a licensed professional counselor, testified he had provided counseling
services to R.D. every other week since November 2022, and R.D. had made “very little” progress
because he continued to focus on L.M. and had a difficult time seeing he was at fault for anything.
He explained that when R.D. recognizes he is to blame for something, they make progress, but the
process is slow due to his personality disorder and narcissistic features, which result in his seeing
himself only in a good light. Pickle testified that R.D. only attended two sessions without

        6
            The Department never tested B.J.D. for exposure to drugs.


                                                          8
mentioning L.M. R.D. also represented that he was attending the Batterers Intervention and
Prevention Program (BIPP), parenting classes, and other required programs, but Pickle later
discovered that R.D. was not doing so, and noted that R.D. “made excuses” when confronted about
his dishonesty.
       Concerning goals, Pickle testified that R.D. addressed his defensiveness “a little” but still
was easily triggered. He had a period of clean drug tests but later began testing positive again. He
made some progress with interpersonal relationships, but he generally stayed isolated and
continued to completely deny any domestic conflicts. Pickle stated that he agreed to keep seeing
R.D. but typically would have discharged him already due to his lack of progress within six to
eight months of trial. Pickle further opined that it would be difficult for R.D. to co-parent without
changing his behavior. He also indicated that there could be an issue with R.D.’s sex-offense
conviction and stated that he knew B.J.D. was examined twice for sexual assault, presumably due
to past allegations that R.D. abused B.J.D.
       Stephanie Teel stated that she provided substance abuse counseling to R.D. twice monthly
since October 2022. She opined that he would not successfully be discharged by the date of trial.
Teel explained, “[p]robably he’s made progress, but however, having multiple drug tests,
especially, you know, testing positive throughout the case and coming here to the end, and the lack
of accountability concerns me, as far as when he does test positive.”
       R.D.’s Visitations With B.J.D. During the Pendency of the Case
       R.D. testified that, as a result of his engagement in parenting classes, he scheduled
visitation with B.J.D. every week for two hours, as opposed to his previous visitation schedule of
every-other-week. Murillo testified that R.D. had to be redirected at times during visitations to
focus on B.J.D. She agreed that B.J.D. appeared to enjoy her visits with R.D., loves him, and
knows him as her father. Murillo opined that, regardless of love, sometimes the child’s best interest
is not served by continuing a relationship in which the parent failed to make the lifestyle changes
that would ensure the child’s safety while in that parent’s care. Evidence that a child loves a parent
and enjoys visits is only marginally relevant to a best-interest finding. See In re D.W., 445 S.W.3d
913, 926 (Tex. App.—Dallas 2014, pet. denied). Court Appointed Special Advocate Bobbie
Hearron testified the visits between R.D. and B.J.D. generally went “okay.” However, she
referenced a visit during the previous summer wherein Department staff had to intervene because
R.D. was being argumentative. Hearron also testified concerning an incident in which R.D. asked



                                                  9
her to watch him wash his hands in the bathroom in preparation for B.J.D.’s visit and, then,
unexpectedly proceeded to urinate in her presence.
       Cole testified that she had to intervene in a visit at the CPS office two weeks before trial
because R.D. became agitated and upset when he was told he had to put his phone away. When
Cole came into the room, B.J.D. was “in the furthest corner of the room, standing very still, with
her hands to her side, not moving. She appeared to be scared.” She removed B.J.D. from the visit
and she tried to calm R.D. down for the remainder of the visitation period, as did his attorney, who
he called for assistance. They were unsuccessful. Cole described the photos R.D. tried to show
B.J.D. on his phone as inappropriate. These photos included mirrored photos of him and his
alleged girlfriend, professional wrestler Rhonda Rousey, wearing scant clothing, along with a
shadowed photo of his penis. 7 Cole allowed R.D. to say “goodbye” to B.J.D., but she would not
speak to or look at him. She indicated that she did not want to tell him goodbye and said she was
scared. But ultimately, she gave him a “fist bump.” Cole indicated that R.D. acted like he did at
the time of B.J.D.’s initial removal when he had admitted to recent methamphetamine use. Based
on her past observations, Cole believed R.D. was under the influence of drugs during this visit.
R.D. acknowledged that he called Cole a “lying bitch.”
       R.D.’s FPOS Plan Noncompliance
       The Department created Family Plans of Service (FPOS) for R.D. and L.M., which were
made an order of the court. A parent’s inability to provide adequate care for the child, lack of
parenting skills, poor judgment, and repeated instances of immoral conduct also may be considered
when determining the child’s best interest. See In re C.A.J., 122 S.W.3d 888, 893 (Tex. App.—
Fort Worth 2003, no pet.). At the time of trial, R.D. had failed successfully to complete his FPOS.
       Murillo testified that R.D. failed to complete several tasks and services required as part of
his FPOS. Specifically she noted that he failed to complete BIPP classes. She also testified that
he failed to complete the parenting class because he failed to provide her with a certificate of
completion.        Moreover, she stated that R.D. had not been discharged from individual and
substance abuse counseling and he continuously tested positive for methamphetamine. Further,
he had not demonstrated he could provide a safe, stable home, he had not submitted any NA/AA
sign-in sheets to the Department, and he had not produced a driver’s license as requested. She did
not believe co-parenting, which was recommended by R.D.’s psychological evaluation, was

       7
           R.D. also claimed to have a personal friendship with the actress, Jennifer Aniston.


                                                          10
appropriate because R.D. continued to deny his own responsibility for the case and L.M. was doing
well with B.J.D. Teel’s testimony echoed Murillo’s and she likewise explained that R.D. was
dishonest about satisfying these FPOS requirements and continued to focus on L.M. during
counseling sessions.
         At trial, R.D. claimed he completed all his services except BIPP classes, and claimed he
was “halfway through” this program. He initially was denied BIPP classes because he was not a
good candidate due to his “victim-blaming.” He testified that he completed the parenting class
two weeks before trial but had not yet received a certificate. R.D. indicated he was not currently
attending a twelve-step program like AA, which he last attended in May 2023. He indicated that
he attempted to attend a meeting at the same location as did L.M. but was told not to attend the
meeting while she was present. He confirmed he was still in individual and substance-abuse
counseling. R.D. confirmed that he completed the psychological evaluation and he was still in the
substance-abuse treatment program recommended by the evaluation.                            He acknowledged he
continued to see drug abuse counselor, Teel, and he claimed that Teel told him her sessions satisfied
the NA/AA meeting requirement. But he stopped going to NA/AA meetings a year before trial
because of his aforementioned belief that the bodily contact with other meeting members in group
hugs caused false-positive drug tests.
         As for his employment, R.D. testified that he worked odd jobs on cars upon request and
separately for a chrome shop. He further testified that he worked for County Line Express until
he was fired. At the time of trial, he explained that he recently was hired by ABC Bus Company,
but that the company fired him at employee orientation because he was required to appear for a
drug test related to this case. 8
         Turning to the housing requirements in the plan, R.D. testified that he has lived in the same
mobile home since he purchased it in 2017. He claimed he was not aware that the finance company
sued him for nonpayment on the mobile home. But he admitted that he had not made payments
since January 2022, and told the company to repossess it. R.D. confirmed that he still was staying
in the mobile home or in a shed converted to habitable living space on his property. He confirmed
he lived in a different trailer prior to the current one and, ultimately, was evicted for nonpayment.




         8
            R.D. explained that he resolved this situation, and he was rehired and scheduled to start work shortly after
the trial’s conclusion.


                                                          11
       L.M.’s FPOS Plan Compliance
       In contrast, Murillo testified that L.M. had completed all FPOS requirements and had not
tested positive for drug use since the removal. She confirmed that L.M. completed individual and
substance-abuse counseling and made the changes necessary to parent B.J.D. safely. Murillo
related that B.J.D. was returned to L.M. in October 2023, and that B.J.D. was “doing really well.”
She continued, “Every time I’ve gone and [L.M.] is present during those visits, she engages well
with [B.J.D.]. [B.J.D.] is thriving. She’s actually gone down on her oxygen machine that she used
to use.” Murillo confirmed that B.J.D.’s medical condition had improved to the point that surgery
could be completed sooner, CPS had no concerns with the care B.J.D. was receiving from L.M.,
and there was a nurse in the home Monday through Friday during work hours. She testified that
L.M. had been employed since August she had visited L.M.’s home weekly during the monitored
return, including unannounced visits, and she had no concerns. Based on this evidence, the trial
court reasonably could have determined that B.J.D. desires to stay with L.M., with whom she is
happy, is well cared for, is thriving, and has her needs met. See S.R., 452 S.W.3d at 369; K.M.,
2016 WL 3660076, at *4.
Conclusion
       In summary, B.J.D. is a special-needs child who requires a high degree of health care and
emotional support. The evidence at trial showed that R.D. is a convicted sex offender, who
committed such sexual offenses against other children in his household, he has a pending felony
charge for failing to register as a sex offender, and there existed numerous other troubling incidents
involving R.D.’s inappropriate, sexual conduct. The record further reflects that R.D. also allegedly
committed numerous acts of domestic violence against L.M., some of which occurred in B.J.D.’s
presence. Furthermore, R.D. has demonstrated an inability to discontinue abusing dangerous drugs
throughout the case, including during the period shortly prior to trial. R.D. also has failed to
complete his FPOS requirements and has not demonstrated that he can create a safe and stable
home environment for B.J.D.
       After viewing the evidence in the light most favorable to the trial court’s best-interest
finding and applying the statutory and Holley factors, we conclude that a reasonable trier of fact
could have formed a firm belief or conviction that termination of R.D.’s parental rights was in the
best interest of B.J.D. See TEX. FAM. CODE ANN. § 161.001(b)(2); In re J.F.C., 96 S.W.3d at 266.
Any contrary evidence is not so significant that a reasonable factfinder could not have reconciled



                                                 12
it in favor of its finding and formed a firm belief or conviction that terminating R.D.’s parental
rights is in the B.J.D.’s best interest. Therefore, because the evidence is legally and factually
sufficient to support the trial court’s best-interest finding, we overrule R.D.’s sole issue.




                                                  DISPOSITION
         Having overruled R.D.’s sole issue, we affirm the trial court’s judgment.




                                                                   BRIAN HOYLE
                                                                      Justice

Opinion delivered August 21, 2024.
Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.




                                                         13
                                   COURT OF APPEALS

      TWELFTH COURT OF APPEALS DISTRICT OF TEXAS

                                           JUDGMENT

                                           AUGUST 21, 2024


                                         NO. 12-24-00045-CV


                            IN THE INTEREST OF B.J.D., A CHILD


                                Appeal from the 173rd District Court
                   of Henderson County, Texas (Tr.Ct.No. FAM22-0554-173)

                       THIS CAUSE came to be heard on the appellate record and briefs filed
herein, and the same being considered, it is the opinion of this court that there was no error in the
judgment.
                       It is therefore ORDERED, ADJUDGED, and DECREED that the judgment
of the court below be in all things affirmed, and that this decision be certified to the court below
for observance.

                    Brian Hoyle, Justice.
                    Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.
